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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA

                             Plaintiff,
                                                                          Case No. 09-CR-043-SPF

 v.

 LINDSEY KENT SPRINGER,
 OSCAR AMOS STILLEY

                             Defendants

                            SPRINGER’S REPLY REGARDING SPRINGER’S
                                    MOTION FOR NEW TRIAL

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                SPRINGER’S REPLY REGARDING MOTION FOR NEW TRIAL

        Lindsey Kent Springer (“Springer”) files his reply addressing Docket # 276 filed in response

 to Springer’s Motion for a New Trial.

 I.     SHERN NOR O’REILLY AND SNOKE AUTHORIZED OUTSIDE D.C.

        Springer submits this issue in reply is out of turn but the egregiousness by which it turns

 demands being the first batter on Springer’s list at the top of the order.

        Purported Special Assistant U.S. Attorney Charles A. O’Reilly and purported Assistant U.S.

 Attorney Kenneth Snoke (“Attorney General Appointments”)(“AGA”) oppose Springer’s claims

 wherein Springer asserted neither Brian Shern nor the AGAs were authorized to exercise the office

 of the Secretary of Treasury (Title 31, Section 301) or the United States Attorney (Title 28, Section

 541) in the United States’ Northern Oklahoma Judicial District, including the Court therein itself.

        A.      Brian Shern is not an Internal Revenue Special Agent of the Secretary and has
                no delegation of authority to act outside District or Columbia

        The AGA’s argue the “wholly original defense” that the “Internal Revenue Service Special

 Agent” was not authorized to act “outside the District of Columbia”[Doc.no. 262:15] is “frivolous

 to the point of absurdity.” Doc. 276, pg. 13   The AGA does not dispute the controlling law cited by

 Springer at Title 4, Section 72. Nor does the AGA dispute what the meaning of Title 4, Section 72

 is in the words of the statute. The AGA takes no exception with any word in Title 4, Section 72.

        The AGA argues however, that “there is no support for his position that this statute prevents

 the Internal Revenue Service or the United States Attorney for the Northern District of Oklahoma

 from operating outside the District of Columbia.” Doc. 276, pg. 13

        To support this tail spin out of control the AGA argues “[T]he Secretary of the Treasury and

 the Commissioner of Internal Revenue have the authority to delegate tax collecting power to local

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 IRS officers and employees throughout the country.”Hughes v. United States, 953 F.2d 531, 542-43

 ( 9th Cir. 1992). Springer agrees the authority to delegate or redelegate can exist but that delegation

 or redelegation only could exist so long as a district director and internal revenue district exists.

        Springer believes and agrees with the AGA that the Hughes decision, and its complete

 analysis, should control completely on this issue. However, as Springer cited on page 3 of his

 Motion, the Hughes Court held:

        The President is authorized to establish internal revenue districts for the purpose
        of administering the internal revenue laws, and these districts can be created
        outside of Washington, D.C. See 26 U.S.C. § 7621.”1

        This is the only manner in which any office exercised in the District of Columbia could be

 authorized to be exercised outside the District of Columbia. The actual entire quote reads as follows:

        “First, the Hugheses argue that the IRS has no authority outside of Washington, D.C.
        To support this contention, they rely on 4 U.S.C. § 72, which states that "[a]ll offices
        attached to the seat of governments shall be exercised in the District of Columbia,
        and not elsewhere, except as otherwise expressly provided by law." This section does
        not foreclose the exercise of authority by the IRS outside the District of Columbia.
        The President is authorized to establish internal revenue districts for the purpose
        of administering the internal revenue laws, and these districts can be created
        outside of Washington, D.C. See 26 U.S.C. § 7621. Furthermore, as we have held,
        the Secretary of the Treasury and the Commissioner of Internal Revenue have the
        authority to delegate tax collecting power to local IRS officers and employees
        throughout the country. See supra Part II(A)(1).”

 Hughes, pg. 543 paragraph 75

        The sentence “as we have held, the Secretary of the Treasury and the Commissioner of


        1
          Title 26, United States Code, Section 7621(a) reads in relevant part: “The President shall
 establish convenient internal revenue districts for the purpose of administering the internal
 revenue laws. The President may from time to time alter such districts.” Section 7621(b) reads
 in relevant part: “Boundaries-For the purpose mentioned in subsection (a), the President may
 subdivide any State, or the District of Columbia, or may unite into one district two or more
 States.”see also United States v. Gorman, 393 F.2d 209, 214 (7th Cir. 1968)


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 Internal Revenue have the authority to delegate tax collecting power to local IRS officers and

 employees throughout the country” refers back to Part II(A)(1) which reads as follows:

        Relevant statutes and regulations demonstrate, however, that the Secretary does have
        the power to collect taxes, and that such power can be delegated to local IRS
        agents. 26 U.S.C. § 6301 provides that "[t]he Secretary shall collect the taxes
        imposed by the internal revenue laws." The actual task of collecting the taxes,
        however, has been delegated to local IRS directors. "The taxes imposed by the
        internal revenue laws shall be collected by district directors of internal revenue."
        26 C.F.R. § 301.6301-1. District directors in turn are authorized to redelegate the
        levy power to lower level officials such as collection officers. See IRS Delegation
        Order 191. The delegation of authority down the chain of command, from the
        Secretary, to the Commissioner of Internal Revenue, to local IRS employees
        constitutes a valid delegation by the Secretary to the Commissioner, and a
        redelegation by the Commissioner to the delegated officers and employees. See 26
        C.F.R. § 301.7701-9. Therefore, the agents involved in the case at bar were acting
        within their authority when they collected taxes from the Hugheses.

 Hughes, pg. 536, paragraph 23

        “The word ‘agent’ is not self-defining.” United States v. Duran, 133 F.3d 1324, 1336 (fn. 8)

 (10th Cir. 1998)      In the case of “internal revenue laws” the Secretary is provided with the

 “authority” over the “administration and enforcement” thereof. See Title 26, Section 7801. See

 United States v. Lasalle National Bank, 437 U.S. 298, 308 (1978)(“The Secretary of the Treasury

 and the Commissioner of Internal Revenue are charged with the responsibility of administering and

 enforcing the Internal Revenue Code. 26 U.S.C. §§ 7801 and 7802.”)

        It is clear “that the Secretary of the Treasury has full authority to administer and enforce the

 Internal Revenue Code, 26 U.S.C. § 7801, and has the power to create an agency to administer and

 enforce the laws. See 26 U.S.C. § 7803(a).2 Pursuant to this legislative grant of authority, the

 Secretary of the Treasury created the IRS. 26 C.F.R. § 601.101.” Young v. IRS, 596 F. Supp. 141,



        2
            Someone moved the wording of Section 7803(a) to its current location of 7804(a).

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 147 (1984)(NDIn); see Cameron v. I.R.S., 593 F. Supp. 1540, 1549 (1984)(NDIn); See also United

 States v. Collins, 920 F.2d 619,630 (10th Cir. 1990) citing Cameron to certain authority issues.

        26 CFR 601.101 in relevant part states:

        “The Internal Revenue Service is a bureau of the Department of the Treasury under
        the immediate direction of the Commissioner of Internal Revenue. The
        Commissioner has general superintendence of the assessment and collection of all
        taxes imposed by any law providing internal revenue. The Internal Revenue Service
        is the agency by which these functions are performed. Within an internal revenue
        district the internal revenue laws are administered by a district director of internal
        revenue....”

        Outside of the District of Columbia the phrase “Internal Revenue Service” has no standing

 nor even exists by law without “internal revenue districts” and a “district director” for each district.

        Just like the Court in Hughes, all the “functions” of the Secretary are to be performed through

 “internal revenue districts” by the “district director” of internal revenue. And as undisputed, no

 internal revenue district encompassing the State of Oklahoma and this judicial district have existed

 since at least 2000. See Doc. 71, pg. 4. The position of “district director” was also eliminated at the

 same time the internal revenue districts were eliminated. See Allnutt v. C.I.R., 523 F.3d 406, 414

 (fn. 1) (4th Cir. 2008)(the Fourth Circuit found the “District Director's Office, now defunct,...”

 Black’s Law, Sixth Edition defines “defunct” as “having ceased to exist; no longer operative...” See

 also Internal Revenue Bulletin, 2007-36 where the Secretary explains the reason for changing a

 regulation because the district director office was eliminated by the Secretary as a result of a law

 passed in 1998. See Doc. 281, Exhibit 1, Page 536

        What is even more alarming is the deception that once again, without any evidence

 whatsoever, the AGA argues Brian Shern is a delegate of the district director without producing a




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  single citation of any delegation order or statute or regulation whatsoever. Even the Internal

  Revenue Manual at 9.1.2.2 (01-16-2008) labeled “General Authority to Enforce Internal Revenue

  Laws and Related Statutes” explains:

         1.Title 26 United States Code (USC) §7608(b) provides the initial authority for
         investigating crimes arising under the Internal Revenue laws.

         Title 26, Section 7608(a) directs application is to who the Secretary charges with the duty to

  enforce any criminal provision. In order for Brian Shern or any person to be considered a “special

  agent” of the Secretary of the Treasury, he must be a delegate of the Secretary. See definition of

  Secretary to include his delegate at Title 26, Section 7701(a)(11). To determine whether Brian

  Shern is a “delegate” of the Secretary, the Hughes Court directed holding to 26 C.F.R. § 301.7701-9.

         Since Shern began his pursuit of Springer in April, 2005, Springer turns to 301.7701-9 for

  the year 2005. 26 CFR § 301.7701–9 is labeled “Secretary or his delegate” and states the following:

         (a) The term Secretary or his delegate means the Secretary of the Treasury, or any
         officer, employee, or agency of the Treasury Department duly authorized by the
         Secretary (directly, or indirectly by one or more redelegations of authority) to
         perform the function mentioned or described in the context, and the term ‘‘or his
         delegate’’ when used in connection with any other official of the United States shall
         be similarly construed.

         (b) In any case in which a function is vested by the Internal Revenue Code of 1954
         or any other statute in the Secretary or his delegate, and Treasury regulations or
         Treasury decisions approved by the Secretary or his delegate provide that such
         function may be performed by the Commissioner, assistant commissioner, regional
         commissioner, assistant regional commissioner, district director, director of a
         regional service center, or by a designated officer or employee in the office of any
         such officer, such provision in the regulations or Treasury decision shall constitute
         a delegation by the Secretary of the authority to perform such function to the
         designated officer or employee. If such authority is delegated to any officer or
         employee performing services under the supervision and control of the
         Commissioner, such provision in the regulations or Treasury decision shall constitute
         a delegation by the Secretary to the commissioner of the authority to perform such
         function and a redelegation thereof by the Commissioner to the designated officer or

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         employee.

         (c) An officer or employee, including the Commissioner, authorized by regulations
         or Treasury decision to perform a function shall have authority to redelegate the
         performance of such function to any officer or employee performing services
         under his supervision and control, unless such power to so redelegate is prohibited
         or restricted by proper order or directive. The Commissioner may also redelegate
         authority to perform such function to other officers or employees under his
         supervision and control and, to the extent he deems proper, may authorize further
         redelegation of such authority.

         (d) The Commissioner may prescribe such limitations as he deems proper on the
         extent to which any officer or employee under his supervision and control shall
         perform any such function, but, in the case of an officer or employee designated in
         regulations or Treasury decision as authorized to perform such function, such
         limitations shall not render invalid any performance by such officer or employee of
         the function which, except for such limitations, such officer or employee is
         authorized to perform by such regulations or Treasury decision in effect at the time
         the function is performed.

         This regulation by the Secretary remains the same from 2000 through 2010.

         In 26 CFR § 301.7701–10 the Secretary defines District director to mean “the

  district director of internal revenue for an internal revenue district. The term also includes the

  Assistant Commissioner (International).” This is the same from 2000 through 2010.

         26 CFR 601.107(2000-2009) provides in relevant part: “Each district has a Criminal

  Investigation function whose mission is to encourage and achieve the highest possible degree of

  voluntary compliance with the internal revenue laws.”

         The AGA therefore cannot dispute that in order for Brian Shern to be an “Agent” of the

  Secretary, as a delegate, he must be delegated by the district director of the internal revenue district

  to which his commission assigns. See United States v. Bisbee, 245 F.3d 1001, 1005-1006 (8th Cir.

  2001)(Secretary delegated to “district director” and “IRS district director had the authority to assess

  the penalty.”) “In the law of agency, actual authority takes two forms: (1) express authority, and (2)


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  authority that is implied or incidental to a grant of express authority. W. Edward Sell, Sell on Agency

  25-31 (1985).” Thomas v. I.N.S., 35 F.3d 1332, 1338 (9th Cir. 1994)

         The Tenth Circuit said in Lonsdale v. United States, 919 F.2d 1440, 1447 (10th Cir. 1990)

  that “descriptions permitting an understanding of the organization of the Internal Revenue Service

  are published by statute and in the Code of Federal Regulations. See, e.g., 26 U.S.C. § 7801-7810;

  26 C.F.R. Part 600, et seq.”

         Unless Brian Shern, or any other purported Special Agent is delegated by the district director

  in the internal revenue district to which he functions, he nor anyone else similarly situated, has

  lawfully “the authority” “delegated” from the Commissioner or Secretary to investigate, gather,

  present, enforce, or collect any information and a new trial should be granted.

         B.      There is no office established by law since at least 2000 where a proper delegate
                 of the Secretary can exercise the office of the Secretary in the State of
                 Oklahoma, or encompassing any of the 50 States.


         The AGA argues “[T]he Secretary of the Treasury and the Commissioner of Internal Revenue

  have the authority to delegate tax collecting power to local IRS officers and employees throughout

  the country.”Hughes v. United States, 953 F.2d 531, 542-43 ( 9th Cir. 1992). Throughout the

  Country is an obvious phrase that must be in accord with Title 4, Section 72 which reads in part:

         "[a]ll offices attached to the seat of governments shall be exercised in the District of
         Columbia, and not elsewhere, except as otherwise expressly provided by law."

         The AGA neither directed any evidence of any office established by law outside the District

  of Columbia that authorizes the office of the Secretary of the Treasury at Title 31, Section 301, to

  be exercised outside the District of Columbia, by any proper delegated person. Nor did the AGA

  identify any part of the Hughes decision that could support the suggestion an office exists where


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  Brian Shern offices. The “office” in Hughes was described as in internal revenue district and “IRS

  director.” Hughes, at 536. The AGA omits reference to that language in Hughes and for obvious

  reasons. The AGA admitted on May 29, 2009, these internal revenue districts and district director

  offices were abolished in the year 2000. See Doc. 71, pg. 4.

          Springer points to 26 CFR 601.101, and 601.107 from 2000 through 2010, to show without

  internal revenue district and district director encompassing where Springer lives and this judicial

  district, there is no “office” within the meaning of Title 4, Section 72 which would allow the exercise

  of the office of the Secretary of Treasury to be exercised not only outside the District of Columbia

  but within the State of Oklahoma or this judicial district.

          If the AGA new of any such established by law office Springer is certain, and this Court

  should be same, that the AGA would have identified that law and show how such office was then

  established. Just saying the Secretary can delegate does not say that he has delegated.

          Springer agrees with the Hughes Court that Congress directed the President to create districts

  encompassing the States with specific boundaries to administer and enforce the internal revenue

  laws. Springer also agrees that logic suggests a “district” office could be established therein and that

  the Secretary, on behalf of the President, could then delegate certain authority by delegation order

  to the district directors of each internal revenue district.

          Without the office and the district director there is no proper delegation of authority for Brian

  Shern to administer and enforce any internal revenue law, including those at issue in Counts One,

  Two, Three, Four, Five and Six. Neither Shern’s purported Affidavit to get the search warrant on

  September 15, 2005, or his declaration in 06-156 allege he is a delegate of the Secretary of the

  Treasury. He clearly is not.


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         C.      Mr. O’Reilly and Snoke (“AGA”) are not authorized by Congress to bring the
                 prosecution against, or prosecute, Springer (and Stilley).

         There is no dispute between the parties that Congress has conferred “express authority” on

  the United States Attorney “by law” to “prosecute for all offenses against the United States” at Title

  28, Section 547. Doc. 276, pg. 15 What follows is egregious conduct on the part of the AGA. The

  AGA states “the authority of both the Internal Revenue Service Special Agent and the prosecution

  team to operate in the Northern District of Oklahoma are expressly provided by law.” Id.

         First, there is nothing quoted by the AGA from the Hughes case that remotely supports the

  conclusion Brian Shern is authorized to “operate in the Northern District of Oklahoma “expressly

  provided by law.” Without an internal revenue district encompassing the Northern Judicial District

  boundaries, no such authorization could ever be shown by Shern under anyone’s theory of the

  district. Other than Title 4, United States Code, Section 72, the AGA did not cite to one single code

  provision or regulation to support its conclusion. The AGA is knowingly wrong.

         Additionally, the AGA argues that Title 28, United States Code, Section 547 provides the

  “authority” of the “prosecution team” to “operate in the Northern District of Oklahoma.” Such a

  conclusion is also knowingly false. Up until June 28, 2009, David O’Meilia was the “United States

  Attorney”     appointed     by    the   President     under    Title    28,   Section     541.   See

  http://www.mainjustice.com/tag/david-omeilia/. Section 541 allows the President to appoint a

  single United States Attorney in each office established by law in each “judicial district” for a four

  year specific term. This section also provides the President with the sole authority to hire and fire

  the United States Attorney. This power is an Article II, Section 2, Clause 2 power that can only be

  exercised by the President of the United States of America. Buckley v. Valeo, 424 U.S. 1, 126 (1976)

         On the other hand, Assistant United States Attorneys are appointed by the Attorney General

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  to assist the United States Attorney “when the public interest so requires.” See Title 28, Section 542.

  These appointed Assistants to the United States Attorney are removable solely by the Attorney

  General and have no specific term. They would qualify as officers under Article II.

         Title 28, Section 543 also provides the Attorney General may appoint a “Special Attorney”

  to “assist United States Attorneys when the public interest so requires.” None of these provisions

  allow Assistant United States Attorneys or Special Attorneys to “prosecute for all offenses against

  the United States.” That power Congress solely placed in the hands of the appointed, with advise

  and consent, a United States Attorney for the judicial district. See Title 28, Section 541

         The AGA argues “United States Attorneys get their authority directly from Congress, not by

  delegation from the Attorney General. Congress has conferred express authority on United States

  Attorneys by law.” Thomas v. I.N.S., 35 F.3d 1332, 1338 (9 Cir. th 1994). In Thomas, the split panel

  majority said:

         We have not been able to find any place in the Code of Federal Regulations where
         the Attorney General delegates to United States Attorneys her power to prosecute
         federal crimes. They [United States Attorneys] nevertheless have that power, because
         Congress assigned it to them independently of any delegation by the Attorney
         General. [emphasis added]

  Thomas, 1339.

                   (i)   No office of United States Attorney provision establishing office by law.

         The AGA identifies no “office” that would provide exercise of a United States Attorney to

  prosecute any offense outside the District of Columbia, which Title 4, Section 72 withholds and

  forbids. No office exists that is established by law.

         Title 28, Section 541 established the appointment process for each office in each judicial

  district but section 541 does not establish the “office.” In any event, even if section 541 is read to


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  establish the appointment process and an executive office in “each judicial district” for a specific

  United States Attorney, and Springer argues it does not, there could, under that rationale, only be an

  “office” if there is a United States Attorney appointed with advice and consent of the Senate. There

  is no office established by law in any event.

                 (ii) No United States Attorney after June 28, 2009 for authority to prosecute.

         Springer surrenders nothing by way of illustrating that the United States Attorney at the time

  of the indictment in this case was named David E. O’Meilia. See Doc. 2, pg. 14. Currently, and

  since June 30, 2009, each filing by the AGA has listed Thomas Scott Woodward as “acting” United

  States Attorney. Compare Doc. 80, pg. 15 listing David E. O’Meilia with Doc. 94 pg. 11 listing

  acting Thomas Scott Woodward.

         Also, note that Charles A. O’Reilly goes from “Trial Attorney, Department of Justice” in

  Doc. 80 to Special Assistant U.S. Attorney in drafting Doc. 94 and thereafter. Mr. Snoke has

  maintained his appointment by the Attorney General by label of Assistant United States Attorney

  on every pleading he has signed, joined or authored.

         Since there is no United States Attorney for the judicial district named “Northern District of

  Oklahoma” after June 28, 2009, Congress had given no authority to anyone, named or unnamed, to

  prosecute Springer (or Stilley) for the allegations contained within Doc. 2. This reaches all pleadings.

         Even if there was a United States Attorney named, Springer would oppose the prosecution

  unless that prosecution was specifically performed by the specific person appointed by the President

  of the United States of America. Congress has given no authority to the Attorney General, or to

  Assistant United States Attorneys or Special Assistant United States Attorneys, to actually prosecute

  any offense outside the District of Columbia in any office.    The AGA cites to no such authority nor


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  do they no of any because none has ever existed in the over 200 plus years of the republic.

         A new trial is warranted only to be prosecuted by a Presidential appointed United States

  Attorney to the United States’ Northern Oklahoma Judicial District.

                 (iii)    Attorney General has not appointed Thomas Scott Woodward

         The AGA identifies Thomas Scott Woodward as an “acting” United States Attorney in its

  opposition. Doc. 276.     There is no provision that allows for an “acting” United States Attorney.

  The AGA avoids this problem created by their argument entirely. Silence is bliss. Without a

  “United States Attorney” “appointed” by the President of the United States of America to this

  judicial district there would be no existence of any “office”in this “judicial district.”

         Title 28, Section 516 excepts Title 28, Section 547's sole power to prosecute in the judicial

  district to the United States Attorney (beginning “Except as otherwise authorized by law...”). The

  AGA does not argue their authority is under Title 28, Section 518 nor could they.

         Title 4, Section 72 forbids any office allowed to be exercised in the seat of government to

  be exercised outside the District of Columbia except as “expressly provided by law.              Title 28,

  Section 501, places the “Department of Justice” as “an executive department of the United States

  at the seat of Government.” Title 4, Section 71 provides the “[A]ll that part of the territory of the

  United States included within the present limits of the District of Columbia shall be the permanent

  seat of government of the United States.” Article I, Section 8, Clause 17 limits the “territory” to 10

  miles square. See United States v. Carmack, 329 U.S. 230, 248 (1946)(“If the Federal Government

  desires exclusive legislative jurisdiction over land acquired by it, the Constitution indicates that the

  consent of the state in which the land is located is necessary.”)

         “Article III of the Constitution requires that ‘[t]he Trial of all Crimes . . . shall be held in the


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  State where the said Crimes shall have been committed.’ Art. III, § 2, cl. 3.” United States v.

  Rodriguez-Moreno, 526 U.S. 275, 278 (1999)             “Its command is reinforced by the Sixth

  Amendment's requirement that ‘[i]n all criminal prosecutions, the accused shall enjoy the right to

  a speedy and public trial, by an impartial jury of the State and district wherein the crime shall have

  been committed.’” Id. By “district” meaning subdivision of a State. Harv. L.Rv., “The Status of

  Our New Territories” Vol. XII,1. 25.1899, 365, 385

         Since there is no law expressly establishing an office called “United States Attorney Office”

  inside or outside the District of Columbia, or any other “office” which would allow the Attorney

  General to “exercise” his office within the State of Oklahoma, the AGA had no statutory authority

  to prosecute Springer (or Stilley) in this case.

         There was and is no United States Attorney for this judicial district nor any office for an

  appointment to be filled. A new trial should be granted.

  II.    GIFT, FINDING OF FACT, AND TAX LIABILITY ERRORS

         Purported AGA argues that in United States v. Terrell, 754 F.2d 1139, 1149 (5th Cir. 1985)

  instructions # 18 and 19, which were neither offered by Springer or the AGA, were “complete and

  accurate in all respects.” Doc. 276, pg 3 The AGA stated in Doc. 137, at page 12 in its Motion in

  Limine addressing Springer presenting evidence of money as a gift:

         “This evidence would be irrelevant; the Government will prove Defendant Springer
         earned income through the specific item method of proof. Through documentary
         evidence and witness testimony, the Government will establish that Defendant
         Springer received payments from income from individuals for whom he provided
         legal assistance.”

         In Terrell, the 5th Circuit stated:

         “David H. Terrell has made his living as an evangelist since the late 1950's. In 1965,
         he formed a tax-exempt corporation known as the New Testament Holiness

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          Church. He preaches under the auspices of that church, while not receiving any
          direct compensation from the corporation. Because he received no direct
          compensation, appellant's income for the indictment period, 1976 through 1979, was
          reconstructed using the net worth plus expenditures method of proof.”

  Id. at 1142

          A. Gift

          Section 102 defines Gifts not to be included within the calculation of gross income. That is

  it. Commissioner v. Duberstein, 363, U.S. 278, 288 (1960) clearly says, and the AGA does not

  dispute, that the “trier of fact must be careful not to allow trial of the issue whether the receipt of a

  specific payment is a gift to turn into a trial of the tax liability...” Springer has cited to this case

  pretrial making an entire Motion to Dismiss on the subject. There is nothing “reprehensible” about

  leaving off “...or of the propriety, as a matter of fiduciary or corporate law, attaching to the conduct

  of someone else.” The AGA does not argue otherwise.

          Springer was not preaching under the auspices of a church tax exempt corporation. The AGA

  argues Springer did not timely object to the Court’s gift instruction. Springer not only objects prior

  to trial and during trial, Springer orally objected at the jury instruction conference specifically and

  prior to and in writing.

          If Congress intends “Gift” to mean what this Court sua sponte instructed the jury the term

  to mean then Congress is required to announce that to the entire world. This Court’s instruction

  violates the most basic notion of due process. “It is the province of the judiciary to enforce laws

  constitutionally enacted, not to make them to suit their own views of propriety or justice.” Armour

  Packing Co. v. United States, 209 U.S. 56, 82 (1908)

          B. Finding of Fact on payment items

          Instruction # 19 states in relevant part:

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         “In determining whether a transfer of money is a gift for tax purposes, the question
         is whether in actuality the transfer is a bon fide gift or simply a method for paying
         compensation for services. Consideration should be given to the intent of the
         parties, the reasons for the transfer, and the parties performance in accordance with
         their intentions.
                 The practical test of whether income is a gift is whether it was received
         gratuitously and in exchange for nothing. Where the person transfering the money
         did not act from any sense of generosity, but rather to secure goods, services, or some
         other such benefit for himself or for another, there is no gift.
                 The intent of the person transferring the money is important in determining
         whether the amount received from the donor by the donee is a gift for tax purposes.
         However, the characterization given to certain payment by either the defendant or the
         person making the payment is not conclusive. Rather, you the members of the jury
         must make an objective inquiry as to whether a certain payment is a gift. Among
         other things, you should consider the terms and substance of any request made by the
         defendant for the funds. In determining whether the transfer of funds was a gift, you
         may also consider whether the recipient used any subterfuges, cooperative
         intermediaries, or devious means with respect to the transfer. In addition, you may
         take into account the following factors:

                 1. How the defendant made his living.

                 2. Whether the person making the payment expects to receive anything in
         return for it.

                3. Whether the person making the payment felt he had a duty or obligation
         to make the payment.

                4.     Whether the person making the payment did so out of fear or
         intimidation.

                This is not a complete listing of all the factors you should consider. You
         should take into account all the facts and circumstances of this case in determining
         whether any payment was a gift.
                                  __________________________

                These rules with respect to payments which are asserted to have been gifts are
         applicable to all payments which are asserted to have been gifts, regardless of
         whether or not it is asserted that the payment was a gift to a minister or to a ministry.

         The AGA is correct in that Springer did tell the jury that under the Court’s instruction to the

  jury that Springer would have conducted the transactions both with the donor and with the United


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  States differently in regard to answering questions related to the conduct surrounding the specific

  items at issue in this case. Springer was not given the Court’s definition by the Secretary of Treasury

  as of September 16, 2005 when Mr. Shern interviewed Springer Mr. Shern never informed Springer

  of the Court’s definition when he asked certain questions of Springer. This definition by the Court

  was not given to Springer on January 15, 2009 by the AGA. This definition was not given to the

  grand jury ever. This definition did not arrive into the trial until the Court offered it after several

  days of testimony.

         Being able to write the law on meaning of gift, after the facts have come in at trial, is one of

  the greatest abuses Springer has ever seen in any trial. The only person in the Court room that could

  have possibly known of the meaning of gift the Court was to give was the Court itself. The Secretary

  of Treasury under his rule making power has never defined “gift” in the manner defined by the Court

  in Instruction # 19. Springer was never given any notice by the Secretary that Congress meant by

  gift at section 102 what this Court said in Instruction # 19.

         The Supreme Court in Duberstein said:

         The exclusion of property acquired by gift from gross income under the federal
         income tax laws was made in the first income tax statute[fn4] passed under the
         authority of the Sixteenth Amendment, and has been a feature of the income tax
         statutes ever since. The meaning of the term "gift" as applied to particular transfers
         has always been a matter of contention.[fn5] Specific and illuminating legislative
         history on the point does not appear to exist. Analogies and inferences drawn from
         other revenue provisions, such as the estate and gift taxes, are dubious. See Lockard
         v. Commissioner, 166 F.2d 409. The meaning of the statutory term has been shaped
         largely by the decisional law.

  Duberstein, 284

         Springer argued pretrial to this Court and continues to argue that the “payments” should have

  been considered by the IRS as being dual payments, at most, with where the payment exceeded the


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  value of the service alleged to be the dividing line. See Hernandez v. CIR, 490 U.S. 680, 689 (fn.

  10)(1989)

         The AGA argues the jury did not believe Springer that the payments were asserted at the time

  to Springer as gifts under Springer’s understanding of gift. Doc. 276 at 3. Under the Court’s

  definition of gift, had Springer been given notice by Congress or the Secretary that gift was defined

  in the manner this Court, on its own, defined it to the jury, Springer would not have believed himself.

  This is why the law cannot be allowed to be written by a Court after the facts come in.

         The Court’s instruction amounts to a violation of the due process and ex post facto clauses

  of the Constitution. “Although the Latin phrase ‘ex post facto’ literally encompasses any law passed

  ‘after the fact,’ it has long been recognized by this Court that the constitutional prohibition on ex

  post facto laws applies only to penal statutes which disadvantage the offender affected by them.”

  Colder v. Bull, 3 Dall. 386, 390-392, 1 L.Ed. 648 (1798); see also Gilson v. Sirmons, 520 F.3d 1196,

  1227 (10th Cir. 2008)

         “Technically, because he challenges judicial interpretations of a statute rather than the statute

  itself, Bailey raises a due process argument rather than one based directly on the Ex Post Facto

  Clause. United States v. Capps, 77 F.3d 350, 354 (10th Cir. 1996) ("Though the Ex Post Facto

  Clause serves to limit legislative power, an unforeseeable judicial enlargement of a criminal statute,

  applied retroactively, can function like an ex post facto law, and violate the Due Process Clause.").

  See United States v. Bailey, 259 F.3d 1216, 1219 (10th Cir. 2001) This Court’s instruction on gift

  construed “gift” in the context of a criminal case beyond narrowly to say the least of it. Congress

  wrote a single section for the public and this Court wrote two plus pages basically telling the jury

  what was not a gift. The Supreme Court said in Duberstein that “[D]ecision of the issue presented


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  in these cases must be based ultimately on the application of the fact-finding tribunal's experience

  with the mainsprings of human conduct to the totality of the facts of each case.” at 289

         There is simply no way the jury could have found that Springer was aware of the Court’s

  definition of Gift. The AGA presented no evidence that Springer was so aware because even the

  AGA was unaware of the Court’s expansive definition of “gift.” The United States Supreme Court

  held that "[t]he sine qua non of a charitable contribution is a transfer of money or property without

  adequate consideration." United States v. American Bar Endowment, 477 U.S. 105, 106 S.Ct. 2426,

  2434, 91 L.Ed.2d 89 (1986). “If a taxpayer expects a substantial benefit in return for his payment,

  then the payment is not deductible.” Christiansen v. CIR., 843 F.2d 418, 420 (10th Cir. 1988)

         No “taxpayer” testified they expected a “substantial benefit” for giving Springer money. In

  fact, the only ones who testified expecting anything were people the AGA offered years of prison

  off their sentence or other payment incentives. Patterson for instance, received 4 years off his

  sentence and testified he sued Springer for the return of $ 60,000 the AGA argued was not a gift.

  Patterson testified Springer did not do anything for the $ 60,000.3 Now how could the AGA argue

  Patterson expected a substantial benefit when Patterson testified he neither expected or received any

  benefit for the $ 60k.   In each instance the AGA established people gave Springer money and

  Springer is on a mission to get rid of the Internal Revenue Service. If the test was “substantial

  benefit” in an “expectation” then the Court’s instruction # 19 did not provide any such guidance.



         3
          As soon as Mr Hawkins got back to his prison he was released from prison almost 2
  years early. He testified his release date was 9.11.11. He also testified before the jury he was
  aware of no negotiation or deal in exchange for his testimony. We now know he was lying and
  had been in direct contact with Mr. Snoke and Mr. O’Reilly as early as 2007 expecting some
  deal. See Exhibit 2, and 3. The nature of Mr. Hawkins 35(b) is sealed and Springer will pursue
  that document post haste.

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         Judge Friot told Springer during one exchange where Springer specifically requested the jury

  be allowed to consider something less than the total amount of each “item” that the jury was only

  being allowed to consider an all or none theory.

         “The test is not the economic character of what the payor receives but whether there is a

  specific, measurable quid pro quo for the donation in question.” Graham v. CIR, 822 F.2d 844,849

  (9thCir. 1987) “The course of decision here makes it plain that the statute does not use the term

  "gift" in the common-law sense, but in a more colloquial sense.” Duberstein, at 284

         Instruction # 19 never mentions quid pro quo or even suggests the jury must find specifically

  what Springer was expected to specifically do for each dollar he received. Instruction # 18 defines

  “gross income” to mean “all income” from “compensation for services.” Doc. # 201 (Second Bill

  of Particulars) cites to regulation 26 CFR 1.61-1 et seq which includes 1.61-2. As of 2000 forward,

  the phrase “Compensation for services” and states “(a) In general. (1) Wages, salaries, commissions

  paid salesmen, compensation for services on the basis of a percentage of profits...,” The only other

  term missing from the phrase Compensation for services is “rendered.”

         C.      Court directed jury to find liability in defiance to Duberstein and due process.

         Both jury instruction 25 and 27 direct the jury to find “substantial income tax owed by

  Springer” which places the jury that determined whether payments were a “gift” also in the position

  of deciding the tax consequences of those payments.       Duberstein warned against this and the

  prejudice could not be more substantial to Springer. Which did they decide first? That Springer

  owed a substantial tax deficiency or each dollar of each “item” of each payment was “compensation

  for services?” The AGA just shoved every item into one payment without presenting any evidence

  of any specific conduct other than Springer was to help their attorney or them. What is the quid pro


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  quo? Ms. Wiggins said Springer edited a couple of letters for her and for that she gave Springer

  $35,000? The AGA turned the United States District Court into an administrative agency tribunal.

  If tax court was to have decided the facts involving each item they would have been required to

  determine each transaction and the value each donor received for their gift. That is not what has

  been done in this case and in direct violation of Duberstein and Springer’s rights to due process.

          Both instruction # 18 and 19 violated both the ex post facto clause and due process involving

  construction of a statute(s) construing “gift” in the criminal context beyond any notice given to the

  public on the meaning of the term by Congress or the Secretary.

  III.    VENUE HINGES UPON EXISTENCE OF INTERNAL REVENUE DISTRICTS AND
          DISTRICT DIRECTORS LOCATED IN THIS JUDICIAL DISTRICT

          The AGA cites to United States v. Brewer, 486 F. 2d 507, 509 (10th Cir. 1973) and to then

  hide their erroneousness in a footnote.      They cite to “by statute, be filed in the place of legal

  residence of the taxpayer or at a service center serving that district, 26 U.S.C. § 6091(b)(1)(A)(i) and

  (ii)....” Doc. 276 at 4 (fn. 1) The service center serving the internal revenue district not judicial.

          The AGA argues Springer obsess about the lack of Internal Revenue Districts and goes on

  Springer “simply refuses to acknowledge that ‘in a criminal case, venue is appropriate in each district

  in which an offense is committed.” Doc. 276, pg. 5 The AGA argues United States v. Taylor, 828

  F. 2d 630, 633 (10th Cir. 1987) supports their erroneos argument. Yet, just a single flip of the page

  and everyone in the world finds:

           “The requirement concerning the place of filing of the individual income tax returns
          is provided in 26 U.S.C.A. § 6091(b)(1)(A) for persons other than corporations. It
          prescribes the place of filing as ‘in the internal revenue district in which is located
          the legal residence or principal place of business of the person making the return. .
          . .’ The federal statute and regulations lay down the rule as a matter of federal
          law...”


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  U.S. v. Taylor, 828 F.2d 630, 634 (10th Cir. 1987)

          In Johnston v. United States, 351 U.S. 215, 220 (1956) the Supreme Court held that the

  general rule is:

           “where the crime charged is a failure to do a legally required act, the place fixed for
          its performance fixes the situs of the crime.”...“The venue of trial is thereby
          predetermined, but those provisions do not furnish guidance for determination of the
          place of the crime. That place is determined by the acts of the accused that violate
          a statute. This requirement of venue states the public policy that fixes the situs of the
          trial in the vicinage of the crime rather than the residence of the accused. Cf. United
          States v. Anderson, 328 U.S. 699, 705. “A variation from that rule for convenience
          of the prosecution or the accused is not justified.” Id

  IV.     JURY WAS TOTALLY CONFUSED BY COURT AND PROSECUTION ON FORM 1040
          AND GOOD FAITH DEFENSE OF SPRINGER

          There is no better evidence than the first two sentences on page 5 of the AGA’s opposition.

  Doc. 276, pg. 5. They argue first that Springer “continues to maintain a frivolous position that the

  Form 1040 fails to comply with the Paperwork Reduction Act.” Then in the very next sentence

  argue the Form’s “compliance or noncompliance” “is irrelevant to the crimes of which Defendants

  were convicted.” The AGA furthers this erroneousness by saying “Nowhere does the Indictment

  allege that either Defendant willful failed to file a Form 1040.” Doc. 276, pg 6. So, the Court tells

  the jury the form 1040 did not violate the PRA, Springer is left to arguing in good faith he believed

  the form 1040 did not comply with the PRA, and the AGA is arguing that the form 1040 was not

  even a part of their theory. This Court never “correctly instructed the trial jury, ‘the requirement to

  file a tax return is mandated by statute, not by regulation’ and ‘such explicit statutory requirements

  are not subject to the PRA.’ United States v. Dawes, 951 F.2d 1189, 1191-92 (10th Cir.1991), quoted

  in Springer v. United States, 447 F.Supp.2d 1235, 1238 (N.D. Okla. 2006).”

          This Court never told the jury the requirement to file was a mandate of any statute and never


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  told the jury the requirement was “not subject to the PRA.” In fact, the Court continued to tell the

  jury, with the AGA approval, that the form 1040 did not nor does not violate the Paperwork

  Reduction Act. No requirement to file was instructed to the jury. The confusion from this issue

  alone warrants a new trial.

  V.      JURY NOT PROPERLY DRAWN

          Interestingly, when the bond conditions were amended Springer’s travel was limited to Tulsa

  County and Creek County. Springer is told to do “community service” and that must be within one

  or the other Counties. Yet “community” in the Sixth Amendment, the AGA argues, is much broader

  than the county Springer lives in. Even when the AGA argues erroneously where the requirement

  to file and pay are to occur as a matter of law they argue Springer lives in Kellyville Oklahoma. The

  Sixth Amendment, like Article III, Section 2, Clause 3, applies in the State and district and by district

  mean subdivision of a State. Neither Springer nor the founders surrendered the right to have a jury

  drawn according to the law of the State to the United States for its determination. The AGA argues

  nothing to oppose Springer as there is nothing they could oppose with. The jury could have and

  should have been drawn from Creek County and not some far County never visited by Springer.

  VI.     COUNT ONE CONSPIRACY INVOLVING SPRINGER’S INCOME

          The AGA argues on page 6 that “Nowhere does the Indictment allege that either Defendant

  willful failed to file a Form 1040” and on page 8 states the “indictment’s language referencing

  Defendant Stilley’s failure to file Form 1040 clearly and unmistakably alleges conduct independent

  of Defendant’s Springer’s income.” If the AGA is confused then the Jury was confused. The AGA

  is beyond confused. By what they wrote on page 6 and 8.

          Count One should never have involved any of “Stilley’s” “income” tax liabilities as the


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  manner and means clearly and continuously referenced Springer only involving the “lawful

  functions” of the district director that no longer exists.4 A new trial should be ordered preventing

  this confusion from entering into the jury at any time.

  VII.   SPRINGER IS NOT A CHRONIC TAX CHEAT

         The AGA never one time entered any evidence Springer owed any money to the Secretary

  of the Treasury by levy or otherwise for any year prior to 2000 nor could they. No money was or is

  owed to the Secretary by Springer. At issue in Counts Two, Three and Four, for years 2000, 2003

  and 2005. 2000 was outside the statute of limitations and once proper weight is given to the absence

  of any quid prop quo for 2000 and 2003, there is no tax to have been cheated. For 2005, that theory

  is utterly absurd regarding how a loan becomes gross income. Most certainly there is no quid pro

  quo on the loan. The AGA argued that Springer cheated on his taxes for 19 years and yet presented

  no evidence to even suggest that statement was supported by any evidence whatsoever. A tax cheat

  for 19 years is different than someone who for one reason or another has not filed “tax returns.”

  Exercising the public protection of the Paperwork Reduction Act of 1995 does not make Springer

  a tax cheat. The AGA said nothing on page 9 or 10 that supports the attainder of “tax cheat.” Even

  the admission by the AGA they said “years 2000 through 2005" clearly misled and prejudiced

  Springer as 2002 and 2004 involved no allegation of any tax liability whatsoever.

  VIII   STEPHEN P. FRIOT NOT AUTHORIZED BY LAW

         There is nothing about Misc. # 23 that complies with Title 28, Section 292(b) and Springer

  means nothing.    There is no public interest identified, no temporary assignment, no identified



         4
           Springer has filed Motions to Dismiss simultaneously herewith this Reply for lack of
  Article III subject matter jurisdiction, standing and failure to allege an offense.

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  vacancy, and certainly no consent by Springer. The AGA does not dispute the de facto status of

  Stephen P. Friot. See Silver v. United States Postal Service, 951 F.2d 1033, 1036 n. 2 (9th Cir.

  1991) (declining to apply de facto officer doctrine and questioning continued vitality of the doctrine

  in collateral attacks)

  IX      TOUHY REGULATIONS VIOLATE’S CONFRONTATION CLAUSE

          It is simply amazing how regulations jump back into the AGA’s argument when it fits their

  desired result. The Sixth Amendment provides that Springer is allowed to call witnesses in aid of

  his defense. There is no question at trial Brian Shern testified that he relied upon information he

  gathered from Donna Meadors and Tim Arsenault. It was not apparent to Springer of exactly the

  constitutional dimension of their testimony until Ms. Patterson testified conferring that she had in

  fact testified before a Grand Jury on October 6, 2004. This testimony made suppression applicable.

  The testimony of Donna Meadors would also have shown the jury that Springer never hid anything

  from the district director or his purported designate when asked.

          Springer also finds it interesting that the AGA cites to regulations at 26 CFR 301.9000. In

  any event, the Constitution’s Sixth Amendment required Meadors, Arsenault, Horn and Nelson to

  be confronted and the only reason they were not allowed to testify was because the Court found

  Springer had not complied with Touhy. The AGA has been doing everything they can to keep

  Springer from examining those people Shern relied upon and that is simply a violation of due

  process as well.

  X.      CONCLUSION

          Springer requests an order be issued for a new trial, finding that (1) Stephen P. Friot was not

  authorized by law to be de jure in this case, Commission or otherwise; (2) the Internal Revenue


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  Service does not exist outside the District of Columbia without district directors and internal revenue

  districts, and no such place or office has existed encompassing the State of Oklahoma since 2000;

  (3) no United States Attorney existed during the prosecution of this case in violation of Title 28,

  Section 547 and due process; (4) no United States Attorney “office” exists as a matter of law;

  Thomas Scott Woodward is not appointed United States Attorney nor is his appointment pending;

  (5) the jury instruction on gift and income violated both sixth amendment, ex post facto and due

  process rights of Springer as the words therein were not written by Congress prior to the time those

  instructions were meant to apply, giving Springer no notice of same; (6) the law of venue relied upon

  in the Court’s instruction was clear error, plain error, constitutional error, and an abuse of discretion;

  (7) the existence of internal revenue district and not judicial district is where “internal revenue laws”

  were to be administered and enforced; (8) no such internal revenue district encompassing this

  judicial district and the State of Oklahoma exists, as a matter of fact and law; (9) no district director

  exists encompassing this judicial district and the State of Oklahoma, as a matter of fact and law; (10)

  both Stephen P. Friot and the AGA confused the jury about the Form 1040's obligation to comply

  with the Paperwork Reduction Act of 1995 injecting confusion in Springer’s Court allotted 45

  minute good faith defense; (11) the jury was not properly drawn according to Title 28, Section 1861

  and Article III, Section 2, Clause 3 and the Sixth Amendment (either was the grand jury); (12) the

  jury was confused in Count One about whose taxes were the subject of the alleged conspiracy

  agreement; (13) Springer should have been allowed to confront Donna Meadors, Tim Arsenault,

  Douglas Horn and Melody Nelson, before the jury on issues of fact that were involved in the grand

  jury allegations and witness testimony; (14) Touhy regulation requirement levied by Stephen P. Friot

  violates the Sixth Amendment confrontation clause, a right claimed by Springer.


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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of Lindsey Kent Springer’s Reply Regarding

  Motion for New Trial was ecf’d on January 21, 2010 to:



  Kenneth P. Snoke,
  Charles O’Reilly,
  Oscar Stilley




                              /s/ Lindsey K. Springer
                              Signature




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